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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK

   JOSIAH GALLOWAY,

                               Plaintiff,          NOTICE OF MOTION

                   -against-                       19 CV 5026 (AMD) (JMW)
   COUNTY OF NASSAU, et al.,

                               Defendants.

      PLEASE TAKE NOTICE that upon the annexed Memorandum of Law,
  Declaration of Gabriel P. Harvis and supporting exhibits, and upon all the prior
  pleadings and proceedings herein, plaintiff, by and through his attorneys, hereby moves
  this Honorable Court, the United States District Court for the Eastern District of New
  York, for an order disqualifying Sokoloff Stern LLP and granting such other relief as
  the Court deems just and proper.

     PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s order dated
  July 16, 2021, opposition papers, if any, shall be served by August 16, 2021.

  Dated:       July 19, 2021
               Briarcliff Manor, New York

                                             ELEFTERAKIS, ELEFTERAKIS & PANEK
                                                                     Digitally signed by Gabriel P.

                                             Gabriel P. Harvis Harvis
                                                               Date: 2021.07.19 17:45:22
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                                             Attorneys for Plaintiff

  To:   Defense Counsel (by e-mail)
